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                Exhibit A
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        PGA TOUR’s              Non-Party Players’            PGA TOUR’s                    Non-Party Players’      Court’s Use
     Disputed Definition1          Response2              Proposed Compromise                Latest Proposed
                                                                                               Compromise
    The terms “you” and       Mickelson objects to the   The Players are obligated      The Non-Party Players
    “your” refer to Phil      Subpoena’s definition of   to run the agreed-upon         have agreed to ask their
    Mickelson, and includes   “you” and “your” as        search terms for custodial     sports agents for
    without limitation any    overly broad and unduly    ESI over their Agents’         documents (both specific
    attorneys, agents         burdensome to the          email and device-level         categories and specific
    (including Steve Loy      extent that it includes    data, with mutually-agreed     documents) that are not
    and Sportfive), member,   “any attorneys, agents     additional limiter terms       otherwise produced and
    or employee of you, or    (including Steve Loy       designed to limit search       likely to be in a given
    any other person acting   and Sportfive), member,    results to materials related   agent’s possession and to
    on your behalf.           or employee of you, or     to their Agents’               produce those documents
                              any other person acting    representation of the          to the TOUR.
                              on your behalf.” In        Players and not other
                              responding to the          potential principals. They
                              Requests, Mickelson        are then obligated to
                              will construe the terms    produce non-privileged
                              “you” and/or “your” to     materials responsive to the
                              refer to non-party Phil    TOUR’s subpoenas.
                              Mickelson.




1
  This definition is drawn from the TOUR’s Subpoena directed to Phil Mickelson. The TOUR served subpoenas with substantively
identical definitions directed to Talor Gooch, Hudson Swafford, and Ian Poulter.
2
 This response is drawn from Mr. Mickelson responses and objections to the TOUR’s Requests for Production. Messrs. Gooch,
Swafford, and Poulter served substantively identical responses.
